                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSSOURI
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                                             )
Cotter Corporation (N.S.L.),                 )
                                             )
        Petitioner,                          )
v.                                           )             Case No. 4:19-mc-00774-AGF
                                             )
United States of America; Republic Services, )
Inc.; Bridgeton Landfill, LLC; Allied        )
Services, LLC; Westlake Landfill, Inc.; Rock )
Road Industries, Inc., Mallinckrodt LLC; and )
EverZinc USA, Inc.,                          )
                                             )
        Respondents.                         )
                                             )

RENEWED REQUEST FOR RELIEF BY THE UNITED STATES OF AMERICA
                                     INTRODUCTION
       On October 15, 2019, Cotter Corporation (N.S.L.) (“Cotter”) filed a petition to

perpetuate the testimony of its former counsel, Edward McGrath, pursuant to Rule 27.

Subsequently, Respondent United States of America filed a response to the petition under

seal (Dkt. No. 23) arguing that Cotter has waived any privilege as to its decision to dispose

of leached barium sulfate from Latty Avenue into the West Lake Landfill. Cotter did so by

(1) voluntarily disclosing some but not all of its communications with its counsel regarding

this subject and (2) attempting to use the testimony of its former counsel to demonstrate

that Cotter acted in good-faith with regard to its disposal of materials from the Latty Avenue

Site at the West Lake Landfill. As a result of this waiver, the United States asked this Court

prior to Mr. McGrath’s deposition to hold that Cotter has waived its attorney client privilege

regarding its decisions regarding the disposal of materials from Latty Avenue at the West
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Lake Landfill and require Cotter to produce documents related to the disposal of materials

from Latty Avenue at the West Lake Landfill that were previously withheld under the

attorney-client privilege. Respondents Republic Services, Inc., Bridgeton Landfill, LLC,

Allied Services, LLC, Westlake Landfill, Inc., and Rock Road Industries, Inc., filed a similar

request, styled as a Motion to Compel. See Dkt. No. 28.1

       This Court held a hearing on Cotters’ request to perpetuate testimony on November

25, 2019, and issued an order on November 27, 2019, permitting the perpetuation of the

testimony of Edward McGrath, Cotter’s former counsel. The Court declined to take action

on pending request to the Court, finding that “the issues raised . . . may be more thoroughly

and properly examined on the merits after McGrath’s deposition, on a fuller record, and

perhaps in a future case rather than this Rule 27 proceeding.” Order at 1-2 (Dkt. No. 41).

The Court required that “within fifteen (15) days following the deposition, the parties shall

advise the Court of the status of this matter, what if any further relief they seek, and the legal

basis for such relief within the scope of this Rule 27 proceeding.” Id. at 2. After seeking and

receiving an extension to file such a response, the Respondent United States of America

hereby renew its request in its prior filing with the Court.

                                FACTUAL BACKGROUND
       The deposition of Mr. McGrath occurred on December 2 and 3, 2019. Of most

importance here, Mr. McGrath testified that most of his knowledge about Cotters’ decision



1The United States’ Response and associated exhibits were filed under seal. To avoid further
filings under seal, the United States will incorporate those filings by reference in this
pleading.
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to dispose of leached barium sulfate from Latty Avenue into the West Lake Landfill was

gained second-hand, from his client, Cotter. First, Mr. McGrath had no first-hand

knowledge of the disposal. He testified that he had never been to the Latty Avenue Site, nor

did he have any “personal knowledge of how the . . . leached barium sulfate residue was

packed, shipped, transported to the West Lake Landfill?” Deposition Excerpt (Vol. 2) at

197:8-14 (filed under seal as Exhibit 1); see also id. at 184:6 to 184:8 and 185:18 to 185:20.

       Second, many of the key facts alleged by Mr. McGrath in his May 15, 1975,

Memorandum to his client, Cotter Corporation, are based not upon his personal knowledge,

but only based upon what his client (or others) told him. See Deposition Excerpt (Vol. 1) at

10:12 to 10:2 (Ex. 1) (“Q: [W]ere all of the significant events included in here, were those

events events you were aware of based upon your personal knowledge? A: No. Q: Were

some of those events events you were aware of only because Mr. Marcott of Cotter told you

about them? A: Or someone else told me about them.”). For instance, Mr. McGrath wrote

in his 1975 Memo that Cotter undertook a careful analysis of AEC regulations prior to its

decision to dispose of leached barium sulfate in the Westlake Landfill and determined it to

be permissible. See May 1975 Memo at 5 (Dkt. No. 23-1). However, Mr. McGrath testified

that, with respect to this statement, he had “no independent knowledge of any of the facts

set forth therein,” but instead was simply told this by Dave Marcott of Cotter Corporation.

Deposition Excerpt (Vol. 1) at Pages 14:16 to 15:9.

       In sum, Mr. McGrath testified that he had very little personal knowledge regarding

Cotters’ decision to dispose of leached barium sulfate from Latty Avenue into the West Lake


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Landfill, but instead was only able to recite statements that his client, Cotter, told him

regarding its actions and decision-making process.2

                                         ARGUMENT
    I.      Cotter Has Waived Its Attorney-Client Privilege As to Its Decision to
            Dispose of Materials from Latty Avenue into the West Lake Landfill.
         The United States reiterates its request to the Court (see Dkt. No. 23) that it should

find that Cotter waived its attorney client privilege regarding its decision to dispose of

materials from Latty Avenue into the West Lake Landfill and therefore require Cotter to

disclose documents previously withheld on that basis.3 Mr. McGrath’s testimony further

supports this request.

            a. Cotters’ Prior Voluntary Disclosures of Privileged Communications
               Require a Finding of Waiver.
         First, nothing has changed since the prior hearing bearing on the United States’

arguments that Cotter’s voluntarily disclosure of some, but not all, of its communications with

its counsel Mr. McGrath relating to its disposal of materials from Latty Avenue into the

West Lake Landfill waived the privilege to all documents on that subject matter. Cotter

waived its privilege by disclosing Mr. McGrath’s May 1975 Memorandum, and in disclosing

Mr. McGrath’s April 5, 2019, declaration. See United States v. Workman, 138 F.3d 1261, 1263

(8th Cir. 1998) (“Voluntary disclosures of attorney client communications expressly waive[]



2 While it is true that Mr. McGrath provided limited testimony based on his own knowledge,
that fact is irrelevant to the issues before this Court.
3 The United States is not renewing its request that this Court order that the testimony of Mr.

McGrath cannot be used in support of any defense to the United States’ claims under
Section 107 of CERCLA at either the Latty Avenue or West Lake Landfill sites or any other
legal or factual claim or defense not specifically identified by Cotter in its petition.
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the privilege [, and t]he waiver covers any information directly related to that which was

actually disclosed.”).

       Second, and as stated previously, the United States believes that Cotter is attempting

to use the testimony of its former counsel to demonstrate that Cotter acted in good-faith

with regard to its disposal of materials from the Latty Avenue Site at the West Lake

Landfill.4 Accordingly, this too should result in an implied waiver of the attorney client

privilege. See Workman, 138 F.3d at 1263. “[T]he determination of good faith reliance

necessarily turns upon the subjective intention of the party claiming reliance and, therefore,

demands investigation into attorney-client communications where such an intention would

be manifested.” United States v. Exxon Corp., 94 F.R.D. 246, 248 (D.D.C. 1981); see also United

States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991) (finding waiver and rejecting assertion

that “facts cannot waive the privilege, because the attorney-client privilege does not extend

to underlying facts”).

           b. Mr. McGrath’s Testimony Confirms that Cotter Waived Its Privilege.
       As noted above, Mr. McGrath had no meaningful first-hand knowledge regarding

Cotters’ decision to dispose of leached barium sulfate from Latty Avenue in the Westlake

Landfill. Indeed, his May 1975 Memorandum reciting the history of Cotter’s cleanup of Latty

Avenue appears to be almost entirely based upon statements or documents provided to him

by his client. Nonetheless, Cotter elected to ask Mr. McGrath to write a memorandum



4Although there is no affirmative defense of good faith to liability under CERCLA, the
good-faith of a party can be relevant as to an allocation of the costs of a cleanup as between
several liable parties.
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summarizing its activities using only the hand-picked assertions that it provided to him in

May 1975. Now, Cotter wishes to affirmatively use that hearsay document and/or Mr.

McGrath’s summary testimony of his client’s selected disclosures to support claims or

defenses in the potential litigation. Cotter has not disclosed exactly why that testimony is

relevant. Cotter does concede that it intends to use this testimony to argue that Cotter acted

in good-faith when it disposed of the radioactive waste. While the United States considers

most of Mr. McGrath’s testimony, and his 1975 memorandum, to be inadmissible hearsay,

the issue before this Court at this time is whether Cotter, after affirmatively using its attorney

to testify about these subjects based on his communications with his client, Cotter may do so

without also disclosing all other communications with Mr. McGrath regarding that very

same subject, i.e. Cotter’s disposal of the radioactive residues from Latty Avenue in the

Westlake Landfill and whether there is any possibility that such disposal falls within any

acceptable definition of “good faith.” As the United States previously stated, where there is a

good-faith defense, “the waiver must pertain to all documents bearing upon the subject

matter of the defense.” Exxon Corp., 94 F.R.D. at 249. “Otherwise, the party interposing the

defense is free to divulge only those documents that are most favorable to his defense; this is

precisely the inequitable result that the waiver doctrine seeks to avoid.” Id.

       Cotter has refused to provide any clarity or limitations as to how it intends to use Mr.

McGrath’s testimony and whether, in fact, it will assert that it acted in good-faith in regards

to its decision to dispose of the residues from the Latty Avenue Site at the West Lake

Landfill. In response to an e-mail following the deposition of Mr. McGrath, counsel stated

simply that “Cotter plans to use the Rule 27 testimony to the fullest extent permissible to
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respond to claims in the context of the cases in which those claims are raised, including any

claims asserted by the government.” 5 Hence, the scope of the subject matter waiver must be

similarly broad.

           c. A Finding of Waiver and Disclosure of Documents Previously Withheld
              Should Be Ordered in this Rule 27 Proceeding.
       For those reasons stated previously, the Court should hold that Cotter has waived the

attorney-client privilege regarding the disposal of materials from Latty Avenue at the West

Lake Landfill. Further, and as a result of that waiver, Cotter should be ordered to disclose to

the Respondents the documents previously withheld from them prior to the deposition that

were listed on the previously noted privilege log (Dkt. No. 23-3), to the extent that they

relate to the subject matter for which privilege has been waived.6 The United States requests

30 days to review the previously withheld document to determine whether further

questioning of Mr. McGrath—whose deposition is currently being held open for resolution

of these issues—is appropriate.

       Such disclosure and potential follow-up questioning now is necessary for fairness to all

the parties. This matter is now fully briefed before this Court, and it would be inefficient to

require Respondents to gain access to these documents through a separate proceeding and

then re-notice a further deposition of Mr. McGrath, assuming further deposition questioning


5 To be clear, it no longer matters how Cotter asserts it wishes to use the testimony. The
questions asked by counsel for Cotter at the deposition, and the subjects in the 1975
memorandum clearly encompassed broad subject matters associated with the handling and
disposal of the radioactive waste.
6 The United States reserves the right to also argue that some of these documents fail to meet

the standard for being protected under either the Attorney-Client Privilege or Work Product
Privilege.
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is appropriate. Moreover, should such follow-up questioning be necessary, and given the

previously stated reasons by Cotter as to why preservation of Mr. McGrath’s testimony was

appropriate, further delay is unwarranted.

                                      CONCLUSION
       For the foregoing reasons, and for those stated in the United States’ previous request

to the Court, Cotter should be found to have waived its attorney-client privilege as to its

decision to dispose of radioactive residues from Latty Avenue at the Westlake Landfill and

provide previously withheld documents on that subject to Respondents for potential use in

follow-up questions to Mr. McGrath.

DATE: January 17, 2020                         Respectfully Submitted,

                                                /s/Phillip R. Dupré
                                                Phillip R. Dupré
                                                Environmental Defense Section
                                                Environment and Natural Resources Division
                                                United States Department of Justice
                                                P.O. Box 7611
                                                Washington, D.C. 20044
                                                Tel: (202) 616-7501
                                                Fax: (202) 514-8865
                                                E-mail: phillip.r.dupre@usdoj.gov

                                                David L. Dain
                                                Environmental Enforcement Section
                                                Environment and Natural Resources Division
                                                United States Department of Justice
                                                999 18th Street
                                                Suite 370 – South Terrace
                                                Denver, CO 80202
                                                Tel: (303) 844-7371
                                                Email: david.dain@usdoj.gov




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                             CERTIFICATE OF SERVICE

       I hereby certify that the above Renewed Request for Relief by the United States of

America was served via the U.S. District Court electronic filing system on January 17, 2020.



                                                  /s/Phillip R. Dupré
                                                  Attorney for United States of America




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